 

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

EDWARD REICHERTER,
15-cv-3879
Plaintiff, (JMA)

-against- Declaration of Donna A.

Napolitano in Support of
THE TOWN OF HEMPSTEAD, Defendant’s Motion for

Summary Judgment

Defendant.
x

 

DONNA A. NAPOLITANO, an attomey admitted to practice in the district court
for the Eastern District of New York, declares pursuant to 28 U.S.C. § 1746, under the penalty
of perjury, as follows:

1. The undersigned is a partner at Berkman, Henock, Peterson, Peddy &
Fenchel, P.C. and is Special Counsel to Defendant, the Town of Hempstead (“Town” or “Town
Defendant”), in the above referenced action, and as such, is fully familiar with the facts and
circumstances set forth herein.

2. This Declaration (“Dec.”) and the attached exhibits are being submitted in
support of the Town’s Motion for Summary Judgment pursuant to Rule 56 of the Federal Rules
of Civil Procedure (“Motion”).

3. Attached hereto as Exhibit “A” is Plaintiff's Complaint dated July 2,
2015.

4, Attached hereto as Exhibit “B” is Town Defendant’s Answer dated July

15, 2016.
 

5. Attached hereto as Exhibit “C” are the relevant pages from the deposition

transcript of Plaintiff Edward Reicherter conducted on August 20, 2018.

6. Attached hereto as Exhibit “D” are the relevant pages from the deposition
transcript of Anthony Santino conducted on October 17, 2018.

7. Attached hereto as Exhibit “E” are the relevant pages from the deposition
transcript of Joseph Albert Bentivegna conducted on September 25, 2018.

8. Attached hereto as Exhibit “F” are the relevant pages from the deposition
transcript of Michael J. Zappolo conducted on August 14, 2018.

9. Attached hereto as Exhibit “G” are a collection of Town of Hempstead,
Department of Parks and Recreation, Personal Action Requests, bates stamped as TOH-REICH.
00215, 00218, 00222 and 00226.

10. Attached hereto as Exhibit “H” are a collection of Town of Hempstead,
Department of Parks and Recreation, Personal Action Requests, bates stamped as TOH-REICH.
00229, 00233 and 00241.

11. Attached hereto as Exhibit “I” is the Town of Hempstead, Department of
Parks and Recreation, Full Time Transfer Record For Edward Reicherter, bates stamped as
TOH-REICH. 00180.

12. Attached hereto as Exhibit “J” is the Town of Hempstead, Department of
Parks and Recreation, Inter-Departmental Memo dated April 15, 2011, bates stamped as TOH-
REICH. 00242.

13. Attached hereto as Exhibit “K” is the Town of Hempstead, Department of
Parks and Recreation, Inter-Departmental Memo dated January 10, 2012, bates stamped as TOH-

REICH. 00435.
 

 

14. Attached hereto as Exhibit “L” is the Town of Hempstead, Department of
Parks and Recreation, Inter-Departmental Memo dated May 21, 2012, bates stamped as TOH-
REICH. 00244.

15. Attached hereto as Exhibit “M” is the Town of Hempstead, Department
of Parks and Recreation, Inter-Departmental Memo dated March 9, 2010, bates stamped as TOH-
REICH. 00523.

16. Attached hereto as Exhibit “N” is the Town of Hempstead, Department of
Parks and Recreation, Inter-Departmental Memo dated March 25, 2011, bates stamped as TOH-
REICH. 00527.

17. __ Attached hereto as Exhibit “O” is the Town of Hempstead, Department of
Parks and Recreation, Notice of Discipline and Charges dated November 9, 2009, bates stamped
as TOH-REICH. 00210-00211.

18. Attached hereto as Exhibit “P” is the Town of Hempstead, Department of
Parks and Recreation, Inter-Departmental Memo dated July 12, 2010, bates stamped as TOH-
REICH. 00525-00526.

19. Attached hereto as Exhibit “Q” is the Town of Hempstead, Department of
Parks and Recreation, Inter-Departmental Memo dated October 4, 2012, bates stamped as TOH-
REICH. 00529-00530.

20. Attached hereto as Exhibit “R” is the Town of Hempstead, Department of
Parks and Recreation, Notice of Discipline and Charges dated August 27, 2013, bates stamped as
TOH-REICH. 00442-00443.

21. Attached hereto as Exhibit “S” is the Town of Hempstead, Department of

Parks and Recreation, Personal Action Requests, bates stamped as TOH-REICH. 00246-00247.

 
 

22. Attached hereto as Exhibit “T” are Plaintiff's Town of Hempstead,

Department of Parks and Recreation time cards for January, February and March 2013, bates
stamped as TOH-REICH. 00193-00197.

23. Attached hereto as Exhibit “U” is a Town of Hempstead check in the sum
of $24,484.62 issued to Edward Reicherter, bates stamped as TOH-REICH. 00454.

24. Attached hereto as Exhibit “V” is the Opinion and Award of Robert
McLaughlin, Esq., Arbitrator, dated May 20, 2014, bates stamped as TOH-REICH. 00252-
00261.

25. Attached hereto as Exhibit “W” is the Town of Hempstead, Department
of Parks and Recreation, Personal Action Request dated May 28, 2014, bates stamped as TOH-
REICH. 00249. |

26. Attached hereto as Exhibit “X” is the Opinion and Award of Robert
McLaughlin, Esq., Arbitrator, dated July 16, 2015, issued in response to the Decision and Oder
of Justice Leonard Steinman, Nassau County Supreme Court.

27. Attached hereto as Exhibit “Y” is Resolution No. 875/25-2014 issued by
the Town Board for the Town of Hempstead, dated June 10, 2014, bates stamped as TOH-
REICH. 00288.

28. Attached hereto as Exhibit “Z” is a the Town of Hempstead, Department
of Parks and Recreation, Inter-Departmental Memos, dated July 19, 2016 and July 21, 2016,
bates stamped as TOH-REICH. 00262-00263.

29. Attached hereto as Exhibit “AA” is the Town of Hempstead, Civil
Service Commission Announcement for the Promotional Examination for the position of Special

Park District Supervisor, bates stamped as TOH-REICH. 00505-00509.
 

 

30. Attached hereto as Exhibit “BB” is a letter dated January 2, 2015, from

the Town of Hempstead’s Civil Service Commission to Edward Reicherter, bates stamped as
TOH-REICH. 00511.

31. As set forth more fully in the accompanying Memorandum of Law,
Defendant Town respectfully submits that an order granting the Motion is warranted.

Dated: Garden City, New York
June 17, 2019

s/s
Donna A. Napolitano
